
PER CURIAM.
Appellant was adjudged to be in indirect criminal contempt of the Circuit Court of Orange County, Florida, for her failure to respond to an investigative subpoena served upon her by the office of the State Attorney.
The record discloses that after appellant was served with an order to show cause as provided in subsection (a)(1) of Rule 3.-840, R.Cr.P., the court failed to follow the procedure set forth in the remainder of said rule. Accordingly, the judgment is reversed and this cause remanded for further proceedings pursuant to the provisions of Rule 3.840, R.Cr.P.
Reversed and remanded.
OWEN, C. J., and CROSS and DOW-NEY, JJ., concur.
